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          EXHIBIT 60
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 2                           UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
 3

 4
        UNITED STATES OF AMERICA,               )
 5                         Plaintiff            )
                                                )
 6      vs.                                     ) No. 1-19-CR-10080
                                                )
 7      GAMAL ABDELAZIZ and JOHN                )
        WILSON,                                 )
 8                         Defendants.          )
                                                )
 9                                              )

10

11
                    BEFORE THE HONORABLE NATHANIEL M. GORTON
12                         UNITED STATES DISTRICT JUDGE
                                JURY TRIAL - DAY 11
13

14
                   John Joseph Moakley United States Courthouse
15                               Courtroom No. 4
                                One Courthouse Way
16                         Boston, Massachusetts 02210

17

18                                September 24, 2021
                                      9:06 a.m.
19

20

21
                           Kristin M. Kelley, RPR, CRR
22                            Kathy Silva, RPR, CRR
                             Official Court Reporter
23                 John Joseph Moakley United States Courthouse
                          One Courthouse Way, Room 3209
24                         Boston, Massachusetts 02210
                            E-mail: kmob929@gmail.com
25
                   Mechanical Steno - Computer-Aided Transcript
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                                                                                    17




      1       Q.      You testified yesterday that Mr. Singer was reluctant to

      2       say the things we wanted him to say.        Do you remember saying

      3       that?

      4       A.      Yes.

      5       Q.      Could you tell us the things that he was reluctant to say

      6       that you wanted him to say?

      7       A.      Mr. Singer was reluctant to say, "a payment to a coach."

      8       In some situations, he was reluctant to say the word "bribe".

      9       Q.      What else?

09:25 10      A.      That's what I -- that was my -- what I recall the main

     11       points were.

     12       Q.      Would you agree with me that in all of the tapes with John

     13       Wilson, Mr. Singer once never says something along the lines of

     14       a fake profile or a false profile?

     15       A.      Correct.

     16       Q.      Was that his decision not to use that phrase, or was it

     17       you simply didn't instruct him to use that phrase?

     18       A.      Specifically with Mr. Wilson, I don't recall.        With other

     19       parents, we asked Mr. Singer to say it was a payment to a

09:26 20      coach, and some of the other things we asked him to say was

     21       that they would be recruited and didn't have to play,

     22       admissions wouldn't know.

     23       Q.      Did you have any written record of the instructions you

     24       gave Mr. Singer of what to say to Mr. Wilson?

     25       A.      No.
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                                                                                     18




      1       Q.    Do you have any written record of what Mr. Singer refused

      2       to say to Mr. Wilson?

      3       A.    No.

      4                   MR. KENDALL:    Your Honor, I'd like to put up

      5       demonstrative K.       It's a demonstrative we have that's simply

      6       verbatim quotes of government exhibits.

      7                   MR. FRANK:    Your Honor, may I look at it?

      8                   THE COURT:    Sure.    If you show it to counsel.

      9                   MR. KENDALL:    Yes.

09:27 10                  MR. FRANK:    Is it a multipage document?

     11                   MS. PAPENHAUSEN:      Yes, it is.

     12                   THE COURT:    I need a technical break for a moment.

     13                   (Pause.)

     14                   THE COURT:    Thank you, counsel.    Go ahead.

     15                   MR. FRANK:    Your Honor, this is full of argument.

     16       These are not simply excerpts.        There are actually headings on

     17       here with defense arguments on them.

     18                   MR. KENDALL:    Your Honor, I have some titles, but

     19       everything there is a verbatim quote.

09:29 20                  THE COURT:    You want to do something like this, bring

     21       it to the Court's attention before we have a jury.           I'm not

     22       going to allow it in, but at a break, I'll look at it.

     23                   MR. KENDALL:    If I can have that back, Mr. Frank.

     24       Q.    I'd like to next go to the September 15 conversation that

     25       you monitored.     I'd like to just show you a couple of excerpts,
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      1                    MR. KENDALL:   Your Honor, I'd like to --

      2                    MR. FRANK:   Your Honor, I object.     She can tell him

      3       what her understanding of the words is without using a

      4       dictionary.

      5                    THE COURT:   Yeah.   Go ahead.

      6                    MR. KENDALL:   Okay.   Would you agree with me -- hold

      7       one second, please.

      8       Q.    Would you agree with me that the word "explicit" can be

      9       defined as "leaving no question as to meaning or intent"?

10:16 10      A.    Can you repeat that?

     11       Q.    Yes.    "Leaving no question as to meaning or intent".

     12       A.    Yes.

     13       Q.    It could also mean "fully revealed or expressed without

     14       vagueness, implication or ambiguity"?

     15       A.    Yes.

     16       Q.    And for the word "ensure", would you agree with me that

     17       means "to make sure, certain or safe, to guarantee"?

     18       A.    I'm sorry.    Can you repeat that?

     19       Q.    Yes.    "To make sure, certain or safe, to guarantee".

10:17 20      A.    I agree.

     21       Q.    Okay.    So you wanted Mr. Singer to leave no question as to

     22       the meaning or intent of what he was doing with Mr. Wilson,

     23       correct?

     24       A.    Can you repeat that?

     25       Q.    You wanted Mr. Singer to use words that left no question
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      1       as to the meaning or intent of what he was proposing to

      2       Mr. Wilson, correct?

      3       A.    Correct.

      4       Q.    Did Mr. Singer agree to do that?

      5       A.    Yes.

      6       Q.    And so it's your statement that the words on these tapes

      7       leave no question as to the meaning or intent of what was going

      8       on?

      9       A.    No.

10:18 10      Q.    There was ambiguity?

     11       A.    No.    Mr. Singer said that he would say the, would be

     12       explicit, but at times he would go back to his whole pitch and

     13       go back to the old cover story as part of his just being used

     14       to saying "donation" when we asked him to say payment.

     15       Q.    I'm not asking what Mr. Singer told you he was going to

     16       do.   I'm asking you, do you think in the tapes and consensual

     17       monitoring that Mr. Singer accomplished what you wanted him to

     18       do, to leave no question as to the meaning or intent of the

     19       words?

10:18 20                   MR. FRANK:   I object, your Honor.     It's irrelevant.

     21                    THE COURT:   Sustained.

     22       Q.    Why don't we take a look at some of the transcript.          I'm

     23       not going to play the tapes.       They've been played, but I do

     24       want to go through the transcripts of some of the calls that

     25       you've testified with with Mr. Frank.
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      1       comments that Mr. Singer made to us as part of the interview

      2       process.

      3       Q.    But you -- and so it's basically a one-way mirror.           It

      4       shows what he said to you, but not what you said to him,

      5       correct?

      6       A.    We were collecting evidence and we documented the

      7       substance that Mr. Singer told us about different people and

      8       about his schemes.

      9       Q.    Could you answer my question, please?

02:30 10                   MR. FRANK:   Objection, your Honor.     She just did.

     11                    THE COURT:   Yeah.   Sustained.

     12       Q.    It shows what he said to you, nothing of what you said to

     13       him, correct?

     14       A.    I did not write down what I said to Mr. Singer.

     15       Q.    Okay.    The only person who purports to have done that is

     16       Mr. Singer in Exhibit 13, correct?

     17                    MR. FRANK:   Objection to what Mr. Singer purports.

     18                    THE COURT:   Sustained.

     19       Q.    But even when you say that you wrote down what Mr. Singer

02:31 20      told you, you didn't write down everything, correct?

     21       A.    Can you be specific?

     22       Q.    Yes.    He told you on multiple occasions he didn't use the

     23       word "bribe" with Mr. Wilson and other parents, and you didn't

     24       put that in the reports, correct?

     25       A.    I don't recall if that's in the reports or not.
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      1       Q.    Can you identify a single time you put in a report,

      2       Mr. Singer told us he did not use the world "bribe" with

      3       Mr. Wilson?

      4       A.    The reports summarize what Mr. Singer said.          I don't

      5       recall if he used -- if the exact word "bribe" is in the

      6       reports.

      7       Q.    Well, you told us you had this ongoing dialogue with him

      8       of giving him instructions and him misspeaking and not

      9       following them.     Do you remember that testimony?

02:31 10      A.    Yes.

     11       Q.    You didn't record any of that in your notes that you had

     12       repeatedly told him to use certain words and he repeatedly

     13       misspoke and didn't use those words or used the wrong words,

     14       correct?

     15       A.    I did not document that, correct.

     16       Q.    Okay.   It's an ongoing conversation with him for the

     17       entire three months that he's recording consensuals with

     18       Mr. Wilson and not once did you put it in an interview report,

     19       correct?

02:32 20      A.    An interview report is what Mr. Singer tells us, not what

     21       we tell Mr. Singer.

     22       Q.    Well, he's telling you that he's never used a bribe with

     23       Mr. Wilson, the word "bribe" with Mr. Wilson, and you don't put

     24       that in a report?

     25       A.    I don't recall the specific word that is in the report.
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      1       document what Mr. Singer did with parents and discussed the --

      2       wrote down the side door and the SAT scheme in the reports.

      3       Q.    Could you answer my question, please?

      4                  MR. FRANK:    Objection, your Honor.

      5       Q.    Not once did any agent write in a report that Mr. Singer

      6       said he didn't tell the parents it was a bribe.          He always told

      7       them it was a donation.

      8       A.    I don't recall that specific statement written down.         We

      9       documented what the side door was, the SAT scheme, and the

02:34 10      communication -- what Mr. Singer told us that he did with the

     11       parents.

     12       Q.    Not once in hundreds of pages of interview reports,

     13       correct?

     14       A.    Correct.

     15                  MR. FRANK:    I'm not sure what that question was.      Not

     16       once what?

     17       Q.    And it says nowhere in those interview reports what you

     18       said to him to get him to cooperate, correct?

     19       A.    I did not document those -- that specific comment or those

02:35 20      specific part of the meeting with Mr. Singer.

     21       Q.    And you didn't document any of your criticisms of how he

     22       made the consensual tapes, correct?

     23       A.    Operational discussion --

     24                  MR. FRANK:    Objection to the term "criticisms".

     25                  THE COURT:    Sustained.
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 1   C E R T I F I C A T E

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 4   UNITED STATES DISTRICT COURT )

 5   DISTRICT OF MASSACHUSETTS        )

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 8              We, Kristin M. Kelley and Kathy Silva, certify that

 9   the foregoing is a correct transcript from the record of

10   proceedings taken September 24, 2021 in the above-entitled

11   matter to the best of our skill and ability.

12

13

14        /s/ Kristin M. Kelley                       September 24, 2021

15        /s/ Kathy Silva                             September 24, 2021

16        Kristin M. Kelley, RPR, CRR                    Date
          Kathy Silva, RPR, CRR
17        Official Court Reporter

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